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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

DIGITAS, INC.,                        §
                                      §
           Plaintiff,                 §
                                      §
v.                                    §                                     1:21-CV-958-RP
                                      §
THE ART INSTITUTE OF AUSTIN AII, LLC; §
ART INSTITUTE OF HOUSTON, LLC; and §
ART INSTITUTE OF                      §
SAN ANTONIO AII, LLC,                 §
                                      §
           Defendants.                §

                                                 ORDER

        Before the Court is the report and recommendation from United States Magistrate Judge

Dustin Howell concerning Defendants’ Motion to Dismiss, (Dkt. 15). (R. & R., Dkt. 20). Pursuant

to 28 U.S.C. § 636(b) and Rule 1(d) of Appendix C of the Local Rules of the United States District

Court for the Western District of Texas, Judge Howell issued his report and recommendation on

May 11, 2022. (Id.). As of the date of this order, no party has filed objections to the report and

recommendation.

        Pursuant to 28 U.S.C. § 636(b), a party may serve and file specific, written objections to a

magistrate judge’s proposed findings and recommendations within fourteen days after being served

with a copy of the report and recommendation and, in doing so, secure de novo review by the

district court. When no objections are timely filed, a district court can review the magistrate’s report

and recommendation for clear error. See Fed. R. Civ. P. 72 advisory committee’s note (“When no

timely objection is filed, the [district] court need only satisfy itself that there is no clear error on the

face of the record in order to accept the recommendation.”).




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       Because no party has filed timely objections, the Court reviews the report and

recommendation for clear error. Having done so and finding no clear error, the Court accepts and

adopts the report and recommendation as its own order.

       Accordingly, the Court ORDERS that the Report and Recommendation of the United

States Magistrate Judge, (Dkt. 20), is ADOPTED. Defendants’ Motion to Dismiss, (Dkt. 15), is

GRANTED. Plaintiff’s claims are DISMISSED WITHOUT PREJUDICE.

       SIGNED on June 2, 2022.




                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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